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                 In the United States Court of Federal Claims
                                     OFFICE OF SPECIAL MASTERS
                                              No. 10-498V
                                          (Not to be published)

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                            *
ROSE SCOTT,                 *
                            *                                             Filed: May 29, 2015
                Petitioner, *
                            *                                             Decision by Stipulation; Attorney’s
          v.                *                                             Fees & Costs
                            *
SECRETARY OF HEALTH AND     *
HUMAN SERVICES,             *
                            *
               Respondent.  *
                            *
*****************************

Isaiah Richard Kalinowski, Washington, DC, for Petitioner

Ann Donohue Martin, Washington, DC, for Respondent

                            ATTORNEY’S FEES AND COSTS DECISION 1

        On August 2, 2010, Rose Scott filed a petition seeking compensation under the National
Vaccine Injury Compensation Program (Athe Vaccine Program@). On January 9, 2015, the parties
filed a stipulation detailing an amount to be awarded to Petitioner. I subsequently issued a
decision finding the parties’ stipulation to be reasonable and granting Petitioner the award
outlined by the stipulation.

       On May 29, 2015, counsel for both parties filed another joint stipulation, this time in
regards to attorney’s fees and costs. The parties have stipulated that Petitioner’s counsel should
receive a lump sum of $52,738.60, in the form of a check payable to Petitioner and Petitioner’s

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  Because this decision contains a reasoned explanation for my action in this case, I will post this decision on the
United States Court of Federal Claims’ website, in accordance with the E-Government Act of 2002, Pub. L. No.
107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by 42
U.S.C. § 300aa-12(d)(4)(B), however, the parties may object to the posted decision’s inclusion of certain kinds of
confidential information. Specifically, under Vaccine Rule 18(b), each party has 14 days within which to request
redaction “of any information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the disclosure of which
would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, the whole decision will
be available to the public. (Id.)
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counsel. This amount represents a sum to which Respondent does not object. In addition, and in
compliance with General Order No. 9, Petitioner has represented that she did incur any
reimbursable costs in proceeding on this petition.

        I approve the requested amount for attorney’s fees and costs as reasonable. Accordingly,
an award should be made in the form of a check in the amount of $52,738.60 payable jointly to
Petitioner and Petitioner’s counsel, Isaiah Richard Kalinowski, Esq, and forwarded to the main
office of Maglio, Christopher & Toale, located at 1605 Main Street, Suite 710, Sarasota, Florida
34236. In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation. 2


         IT IS SO ORDERED.
                                                                     /s/ Brian H. Corcoran
                                                                        Brian H. Corcoran
                                                                        Special Master




2
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint notice renouncing their
right to seek review.
